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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)

                                                                                    Order Filed on May 11, 2018
 STRAFFI & STRAFFI, LLC                                                                       by Clerk
 670 Commons Way                                                                      U.S. Bankruptcy Court
                                                                                      District of New Jersey
 Toms River, NJ 08755
 (732) 341-3800
 (732) 341-3548 (fax)
 bkclient@straffilaw.com
 Attorney for Debtor(s)

In Re:
                                                              Case No.:             18-13505
                                                                              ____________________

 Dancer, Donald                                               Chapter:                 13
                                                                              ____________________

                                                              Judge:                  KCF
                                                                              ____________________



                                        LOSS MITIGATION ORDER


         The relief set forth on the following pages, numbered 2 and 3, is hereby ORDERED.




DATED: May 11, 2018
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                                                                           04/12/2018
     A Notice of Request for Loss Mitigation was filed by the debtor on __________________ .

                                                                                 Seterus, Inc.
        A Notice of Request for Loss Mitigation was filed by the creditor, ________________________ on
    __________________.

   The court raised the issue of Loss Mitigation, and the parties having had notice and an opportunity to
    object, and the Court having reviewed any objections thereto.

The Request concerns the following:

          30 Amherst Road, Marlboro, NJ 07746
Property: ________________________________________________________________

          Seterus, Inc.
Creditor: ________________________________________________________________


 It is hereby ORDERED that the Notice of Request for Loss Mitigation is denied.


   It is hereby ORDERED that the Notice of Request for Loss Mitigation is granted, and:

           The debtor and creditor listed above are directed to participate in Loss Mitigation and are bound
            by the court’s Loss Mitigation Program and Procedures (LMP).

           The Loss Mitigation process shall terminate on ________________ (90 days from the date of the
            entry of this order, unless extended as set forth in Section IX.B. of the LMP.

           The debtor must make adequate protection payments to the creditor during the Loss Mitigation
            Period in the amount set forth in the Notice and Request for Loss Mitigation. See Sections
            V.A.1.a and VII.B. of the LMP.

           If a relief from stay motion pursuant to section 362(d) is pending upon entry of this Order or if
            such a motion is filed during the loss mitigation period, the court may condition the stay upon
            compliance by the debtor with the fulfillment of the debtor’s obligations under the Loss
            Mitigation Order. If the debtor fails to comply with the loss mitigation process and this Order, the
            creditor may apply to terminate the Order as specified in Section IX.C of the LMP and to obtain
            relief from the stay.

           Within 14 days of termination of the loss mitigation period, the debtor must file with the court and
            serve all interested parties, the Local Form, Loss Mitigation Final Report as set forth in Section
            VII.C. of the LMP.

           Extension of the LMP may be requested as specified in Section IX.B of the LMP.
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 It is ORDERED that parties shall utilize the Loss Mitigation Portal during the Loss Mitigation Period,
    and it is further ORDERED that:

        Within 14 days of the date of this order, the creditor shall ensure that it is registered on the loss
         mitigation portal and that all of its initial loss mitigation document requirements are available on
         the portal.

        Within 35 days of the date of this order, the debtor shall upload and submit through the loss
         mitigation portal a completed Creditor’s Initial Package.

        Within 10 business days of the debtor’s submission of the Creditor’s Initial Package, the creditor
         shall acknowledge receipt of same and designate the single point of contact for debtor’s review.


 It is ORDERED that the debtor is excused from use of the Loss Mitigation Portal during the Loss
   Mitigation Period, and it is further ORDERED that:

        Within 14 days of the date of this order, the creditor shall designate a single point of contact,
         including the name and contact information of the contact and shall specify to the debtor the
         forms and documentation the creditor requires to initiate a review of the debtor’s loss mitigation
         options.

        Within 21 days after receipt of the creditor’s specifications regarding forms and documentation,
         the debtor shall provide the requested information.

        Within 10 business days of the debtor’s submission, the creditor shall acknowledge receipt of the
         documentation.




                                                                                                     Revised 9/19/13

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